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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA *
                         *
    v.                   *
                         *                      Case No. 24-cr-135-TSC
JOHN BANUELOS            *
                         *
         Defendant.      *

     UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE

      The Defendant, John Banuelos, by and through counsel, Michael E. Lawlor,

Adam C. Demetriou, and Brennan, McKenna & Lawlor, Chtd., respectfully submits

this Unopposed Motion to Continue Status Conference. In support of this Motion,

counsel state as follows.

      1.     A status conference in this matter is set for November 19, 2024 at 1:00

p.m. A jury trial is scheduled for February 3, 2025. At this time, Mr. Banuelos

respectfully requests that this Court continue the status conference to a date and time

convenient for the Court and the parties.

      2.     The Government has extended Mr. Banuelos a plea offer in this case.

Counsel require additional time to discuss the plea offer with Mr. Banuelos and to

advise him of his options for further proceedings. Additionally, the undersigned

counsel are currently engaged in a homicide trial in the Circuit Court for Charles

County, Maryland. The trial in that case is expected to conclude on or before

November 26, 2024.
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      3.     This Motion is unopposed. The undersigned counsel have contacted

AUSA Rebekah Lederer, who has advised that the Government does not oppose a

continuance of the November 19 status conference.

      4.     Given counsel’s trial calendar, the undersigned counsel respectfully

request that the Court’s courtroom deputy clerk clear a new status conference date

with the parties.

      5.     Mr. Banuelos consents to tolling time under the Speedy Trial Act

through the date of the next hearing.

      6.     Accordingly, Mr. Banuelos respectfully requests that this Honorable

Court continue the November 19 status conference to a date convenient for the Court

and the parties.



                                            Respectfully submitted,

                                                  /s/
                                            _____________________
                                            Michael E. Lawlor
                                            Adam C. Demetriou
                                            Brennan, McKenna & Lawlor, Chtd.
                                            6305 Ivy Lane, Suite 700
                                            Greenbelt, Maryland 20770
                                            301.474.0044
                                            mlawlor@verizon.net




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                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 18, 2024, a copy of the foregoing

was sent to the United States Attorney’s Office for the District of Columbia, via

ECF.

                                                /s/
                                           _____________________
                                           Michael E. Lawlor




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